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                                 #:3005




                  EXHIBIT 3
             Case 2:20-cv-08035-SVW-JPR Document 147-4 Filed 05/07/21 Page 2 of 6 Page ID
                                              #:3006

  From:           Jerry Wang (FF China) [/O=FIRST ORGANIZATION/OU=EXCHANGE ADMINISTRATIVE GROUP
                  (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=A13EE35D36764DFDACED9FB3DBFE2A11-JERRY]
  Sent:           1/26/2018 6:35:53 PM
  To:             Bian, Feifei [foian@sidley.com]
  cc:             Sekhon, Vijay S. [vsekhon@sidley.com]
  Subject:        RE:
                        [EXTERNA|



                                                    Also he will   sign our standard offer letter so that should   be fine to   cover

  some    basic terms in there.




  Thanks,
  Jerry


  Faraday Future
  Jerry Wang




  From: Bian, Feifei [mailto:fbian@sidley.com]
  Sent: Friday, January 26, 2018 3:31 PM
  To: Jerry Wang (FF China)       Jerry. Wang@ff.com>
  Cc: Sekhon, Vijay S. <vsekhon@sidley.com>
  Subject: RE: [EXTERNA|]


                                                                            As to the employment agreement, we noticed that
  there appears to be missing many standard provisions we would          usuaily see in a similar employment agreement. We are
  wondering if you'd like our employee benefits specialists to take      a   look?




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                                        #:3007




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         Case 2:20-cv-08035-SVW-JPR Document 147-4 Filed 05/07/21 Page 4 of 6 Page ID
                                          #:3008




  FEIFEI BIAN
  Associate

  SIDLEY AUSTIN LLP




CONFIDENTIAL                                                                       FFO0Q005189
         Case 2:20-cv-08035-SVW-JPR Document 147-4 Filed 05/07/21 Page 5 of 6 Page ID
                                          #:3009
  +1 310 595 9478
  fbian@sidley.com


          From: Jerry Wang (FF China) [mailto:Jerry.Wang@ff.com]
          Sent: Friday, January 26, 2018 3:16 PM
          To: Bian, Feifei <fbian@sidley.com>
          Cc: Sekhon, Vijay S. <vsekhon@sidley.com>
          Subject:    RE:   [EXTERNA|]



          Jerry


          Faraday Future
          Jerry Wang
            jerry wang@ff.com




          From: Bian, Feifei [mailto:fbian@sidley.com]
          Sent: Friday, January 26, 2018 12:50 PM
          To: Jerry Wang(FF China) <Jerry.Wang@ff.com>
          Cc:Sekhon, Vijay S. <vsekhon@sidley.com>
          Subject: [EXTERNA|]



          Feifei



          FEIFEI BIAN
          Associate

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          17th Floor
          Los Angeles, CA 90067
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          fbian@sidley.com
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                                        #:3010


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